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   8
                        UNITED STATES DISTRICT COURT
   9
                       CENTRAL DISTRICT OF CALIFORNIA
  10
  11   CARLOS LOZANO, DECEASED, by           ) Case No. 2:21-cv-03153 FLA (DFMx)
       and through his Co-Successors in      )
  12   Interest, OSCAR PUENTES,              ) Honorable Fernando L. Aenlle-Rocha
       individually, and KARLA               )
  13
       GUTIERREZ, individually,              )
                                             ) DISCOVERY MATTER
  14                                         )
                    Plaintiffs,              )
  15                                         ) Hon. Douglas F. McCormick
               vs.                           )
  16                                         )
       WELLPATH LLC, a Delaware limited )
  17   liability company; CALIFORNIA         )
       FORENSIC MEDICAL GROUP, INC. ) JOINT STIPULATED
  18   dba WELLPATH, a California            ) DISCOVERY PROTECTIVE
       professional corporation; H.I.G.      ) ORDER
  19   CAPITAL, LLC, a Delaware limited      )
       liability company; COUNTY OF          )
  20   VENTURA; a municipal corporation; )
  21
       SHERIFF WILLIAM AYUB, in his          )
       individual and official capacities;   )
  22   WILLIAM T. FITHIAN III, M.D.;         )
       PAUL ADLER, D.O.; RONALD              )
  23   POLLACK, M.D.; JANICE THOMAS, ) Complaint Filed: 4/13/2021
       M.D.; GERARD BOYLE; JORGE A. ) Trial Date:                 10/10/2023
  24   DOMINICIS; and DOES 1-10;             )
       individually, jointly, and severally, )
  25
                                             )
       Defendants.                           )
  26
                                             )

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   1   1.    A. PURPOSES AND LIMITATIONS
   2         Recent written discovery propounded by Plaintiffs in this action involves
   3   production by Defendants of confidential, proprietary, or private information for
   4   which special protection from public disclosure and from use for any purpose
   5   other than prosecuting this litigation may be warranted when responding to the
   6   following requests for production: 1) Any and all documents which report,
   7   memorialize, detail, or in any way mention, any Defendants’ investigation
   8   concerning the facts and circumstances pertaining to the May 19, 2020 death of
   9   Carlos Lozano; and 2) Any and all documents which report, memorialize, detail,
  10   or in any way mention, any and all suicide attempts of Carlos Lozano which
  11   occurred at or around the Ventura County Jail occurring prior to May 19, 2020.
  12         Accordingly, the parties hereby stipulate to and petition the Court to enter
  13   the following Stipulated Protective Order. The parties acknowledge that this
  14   Order does not confer blanket protections on all disclosures or responses to
  15   discovery and that the protection it affords from public disclosure and use extends
  16   only to the limited information or items that are entitled to confidential treatment
  17   under the applicable legal principles.
  18
  19         B. GOOD CAUSE STATEMENT
  20         This action involves the exchange of documents that some of the
  21   Defendants maintain as confidential for which special protection from public
  22   disclosure and from use for any purpose other than prosecution of this action is
  23   warranted. Such confidential and proprietary records contain sensitive and
  24   confidential information that derives actual or potential value from not being
  25   generally known to the public and are the subject of reasonable efforts to maintain
  26   their confidentiality. Investigative reports and reports concerning prior suicidal
  27   attempts produced in response to Plaintiffs’ discovery requests contain
  28   confidential or proprietary information, or may disclose information concerning

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   1   highly sensitive and confidential information, including information from third
   2   parties. Such records may include, but may not be limited to:
   3         1) County of Ventura Defendants:
   4         Investigative reports that may concern the overall description, design
   5   and/or layout of the interior of the Ventura County Main Jail (“Pre-Trial
   6   Detention Facility”) where Decedent was housed and the investigation into
   7   Decedent’s in custody death are not accessible to the general public, including the
   8   descriptions of the overall design and layout of inmate housing units, safety cells,
   9   initial intake and booking areas, special housing units, inmate and security
  10   personnel movement corridors, and any monitoring stations housed by jail
  11   security and/or medical staff, along with statements from third party witnesses
  12   contained with investigative reports. The County of Ventura believes, in good
  13   faith, that disclosure of the above materials concerning or reflective of the design
  14   and layout of interior areas within the Pre-Trial Detention Facility without a
  15   protective order may compromise the safety and privacy of Defendants’
  16   employees and third parties, including jail security, medical staff, and inmates,
  17   and effect the overall operation of the jail. The County of Ventura believes, in
  18   good faith, that materials that fall within the categories outlined above are the
  19   type protected by the Official Information Privilege, the right to privacy
  20   guaranteed in the Federal Constitution and contemplated by the federal courts
  21   based upon a legitimate need for jail security, safety, privacy, and operational
  22   concerns, and thus, are Confidential and protected from public disclosure.
  23         Additional County of Ventura documents likely to be produced in response
  24   to Plaintiffs’ discovery requests include reports that cover information concerning
  25   the initial intake and classification and housing of inmates, portions of County of
  26   Ventura policies, procedures, manuals, and/or training materials that are not
  27   publicly available and relate specifically to jail security, the classification and
  28   housing of inmates, and prevention of cell assignment manipulations by inmates.

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   1   The County of Ventura believes, in good faith, that reports that fall within the
   2   categories outlined are the type protected by the Official Information Privilege,
   3   the right to privacy guaranteed in the Federal Constitution, First Amendment, and
   4   contemplated by the federal courts based upon the legitimate need for jail
   5   security, safety, privacy, and operational concerns, and thus, are Confidential and
   6   protected from public disclosure.
   7         2) Wellpath Defendants:
   8         Records and policies, procedures, manuals and or training materials that are
   9   not publicly available and may be proprietary, investigation materials which may
  10   be related to the incident at issue, and documents which potentially identify third
  11   party private and confidential medical information. Wellpath believe(s), in good
  12   faith, that materials that fall within the categories outlined above are the type
  13   protected by the Official Information Privilege, State and Federal medical privacy
  14   statutes including but not limited to HIPAA and the California Confidential
  15   Medical Information Act (CMIA) and thus, are Confidential and protected from
  16   public disclosure.
  17         In addition, Wellpath defendants believe should individual and/or corporate
  18   financial information be compelled for production, such documentation would
  19   protected from public disclosure based on privacy considerations of the California
  20   and federal Constitutions, and interpreting jurisprudence.
  21         Accordingly, to expedite the flow of information, to facilitate the prompt
  22   resolution of disputes over confidentiality of discovery materials, to adequately
  23   protect information the parties are entitled to keep confidential, to ensure that the
  24   parties are permitted reasonable necessary uses of such material in preparation for
  25   and in the conduct of trial, to address their handling at the end of the litigation,
  26   and serve the ends of justice, a protective order for such information is justified in
  27   this matter. It is the intent of the parties that information will not be designated as
  28   confidential for tactical reasons and that nothing be so designated without a good

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   1   faith belief that it has been maintained in a confidential, non-public manner, and
   2   there is good cause why it should not be part of the public record of this case.
   3
   4          C. ACKNOWLEDGMENT OF PROCEDURE FOR FILING UNDER
   5   SEAL
   6           The parties further acknowledge, as set forth in Section 12.3, below, that
   7   this Stipulated Protective Order does not entitle them to file confidential
   8   information under seal; Local Civil Rule 79-5 sets forth the procedures that must
   9   be followed and the standards that will be applied when a party seeks permission
  10   from the court to file material under seal.
  11          There is a strong presumption that the public has a right of access to
  12   judicial proceedings and records in civil cases. In connection with non-
  13   dispositive motions, good cause must be shown to support a filing under seal. See
  14   Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006);
  15   Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002); Makar-
  16   Welbon v. Sony Electrics, Inc., 187 F.R.D. 576, 577 (E.D. Wis. 1999) (even
  17   stipulated protective orders require good cause showing), and a specific showing
  18   of good cause or compelling reasons with proper evidentiary support and legal
  19   justification, must be made with respect to Protected Material that a party seeks to
  20   file under seal. The parties’ mere designation of Disclosure or Discovery
  21   Material as CONFIDENTIAL does not—without the submission of competent
  22   evidence by declaration, establishing that the material sought to be filed under
  23   seal qualifies as confidential, privileged, or otherwise protectable—constitute
  24   good cause.
  25          Further, if a party requests sealing related to a dispositive motion or trial,
  26   then compelling reasons, not only good cause, for the sealing must be shown, and
  27   the relief sought shall be narrowly tailored to serve the specific interest to be
  28   protected. See Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 677-79 (9th Cir.

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   1   2010). For each item or type of information, document, or thing sought to be
   2   filed or introduced under seal in connection with a dispositive motion or trial, the
   3   party seeking protection must articulate compelling reasons, supported by specific
   4   facts and legal justification, for the requested sealing order. Again, competent
   5   evidence supporting the application to file documents under seal must be
   6   provided by declaration.
   7          Any document that is not confidential, privileged, or otherwise protectable
   8   in its entirety will not be filed under seal if the confidential portions can be
   9   redacted. If documents can be redacted, then a redacted version for public
  10   viewing, omitting only the confidential, privileged, or otherwise protectable
  11   portions of the document shall be filed. Any application that seeks to file
  12   documents under seal in their entirety should include an explanation of why
  13   redaction is not feasible.
  14
  15   2.     DEFINITIONS
  16          2.1    Action: Carlos Lozano, Deceased, et al. v. Wellpath, LLC, et al.
  17   Case No. 2:21-cv-03153 FLA-DFM.
  18          2.2    Challenging Party: a Party or Non-Party that challenges the
  19   designation of information or items under this Order.
  20          2.3    “CONFIDENTIAL” Information or Items: information (regardless
  21   of how it is generated, stored or maintained) or tangible things that qualify for
  22   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  23   the Good Cause Statement.
  24          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
  25   their support staff).
  26          2.5    Designating Party: a Party or Non-Party that designates information
  27   or items that it produces in disclosures or in responses to discovery as
  28   “CONFIDENTIAL.”

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   1         2.6      Disclosure or Discovery Material: all items or information,
   2   regardless of the medium or manner in which it is generated, stored, or
   3   maintained (including, among other things, testimony, transcripts, and tangible
   4   things) that are produced or generated in disclosures or responses to discovery in
   5   this matter.
   6         2.7      Expert: a person with specialized knowledge or experience in a
   7   matter pertinent to the litigation who has been retained by a Party or its counsel to
   8   serve as an expert witness or as a consultant in this Action.
   9         2.8      House Counsel: attorneys who are employees of a party to this
  10   Action. House Counsel does not include Outside Counsel of Record or any other
  11   outside counsel.
  12         2.9      Non-Party: any natural person, partnership, corporation, association
  13   or other legal entity not named as a Party to this action.
  14   2.10 Outside Counsel of Record: attorneys who are not employees of a party to
  15   this Action but are retained to represent or advise a party to this Action and have
  16   appeared in this Action on behalf of that party or are affiliated with a law firm
  17   that has appeared on behalf of that party, and includes support staff.
  18         2.11 Party: any party to this Action, including all of its officers, directors,
  19   employees, consultants, retained experts, and Outside Counsel of Record (and
  20   their support staffs).
  21         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  22   Discovery Material in this Action.
  23         2.13 Professional Vendors: persons or entities that provide litigation
  24   support services (e.g., photocopying, videotaping, translating, preparing exhibits
  25   or demonstrations, and organizing, storing, or retrieving data in any form or
  26   medium) and their employees and subcontractors.
  27         2.14 Protected Material: any Disclosure or Discovery Material that is
  28   designated as “CONFIDENTIAL.”

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   1         2.15 Receiving Party: a Party that receives Disclosure or Discovery
   2   Material from a Producing Party.
   3
   4   3.    SCOPE
   5         The protections conferred by this Stipulation and Order cover not only
   6   Protected Material (as defined above), but also (1) any information copied or
   7   extracted from Protected Material; (2) all copies, excerpts, summaries, or
   8   compilations of Protected Material; and (3) any testimony, conversations, or
   9   presentations by Parties or their Counsel that might reveal Protected Material.
  10         Any use of Protected Material at trial shall be governed by the orders of the
  11   trial judge. This Order does not govern the use of Protected Material at trial.
  12
  13   4.    DURATION
  14         Once a case proceeds to trial, information that was designated as
  15   CONFIDENTIAL or maintained pursuant to this protective order used or
  16   introduced as an exhibit at trial becomes public and will be presumptively
  17   available to all members of the public, including the press, unless compelling
  18   reasons supported by specific factual findings to proceed otherwise are made to
  19   the trial judge in advance of the trial. See Kamakana, 447 F.3d at 1180-81
  20   (distinguishing “good cause” showing for sealing documents produced in
  21   discovery from “compelling reasons” standard when merits-related documents are
  22   part of court record). Even after final disposition of this litigation, the
  23   confidentiality obligations imposed by this Order shall remain in effect as to
  24   materials which do not become part of the court record, until a Designating Party
  25   agrees otherwise in writing or a court order otherwise directs.
  26
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   1   5.    DESIGNATING PROTECTED MATERIAL
   2         5.1      Exercise of Restraint and Care in Designating Material forProtection.
   3   Each Party or Non-Party that designates information or items for protection under
   4   this Order must take care to limit any such designation to specific material that
   5   qualifies under the appropriate standards. The Designating Party must designate
   6   for protection only those parts of material, documents, items or oral or written
   7   communications that qualify so that other portions of the material, documents,
   8   items or communications for which protection is not warranted are not swept
   9   unjustifiably within the ambit of this Order.
  10         Mass, indiscriminate or routinized designations are prohibited.
  11   Designations that are shown to be clearly unjustified or that have been made for
  12   an improper purpose (e.g., to unnecessarily encumber the case development
  13   process or to impose unnecessary expenses and burdens on other parties) may
  14   expose the Designating Party to sanctions.
  15         If it comes to a Designating Party’s attention that information or items that
  16   it designated for protection do not qualify for protection, that Designating Party
  17   must promptly notify all other Parties that it is withdrawing the inapplicable
  18   designation.
  19         5.2      Manner and Timing of Designations. Except as otherwise provided
  20   in this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  21   stipulated or ordered, Disclosure or Discovery Material that qualifies for
  22   protection under this Order must be clearly so designated before the material is
  23   disclosed or produced.
  24         Designation in conformity with this Order requires:
  25         (a) for information in documentary form (e.g., paper or electronic
  26   documents, but excluding transcripts of depositions or other pretrial or trial
  27   proceedings), that the Producing Party affix at a minimum, the legend
  28   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that

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    1   contains protected material. If only a portion of the material on a page qualifies
    2   for protection, the Producing Party also must clearly identify the protected
    3   portion(s) (e.g., by making appropriate markings in the margins).
    4         A Party or Non-Party that makes original documents available for
    5   inspection need not designate them for protection until after the inspecting Party
    6   has indicated which documents it would like copied and produced. During the
    7   inspection and before the designation, all of the material made available for
    8   inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
    9   identified the documents it wants copied and produced, the Producing Party must
   10   determine which documents, or portions thereof, qualify for protection under this
   11   Order. Then, before producing the specified documents, the Producing Party
   12   must affix the “CONFIDENTIAL legend” to each page that contains Protected
   13   Material. If only a portion of the material on a page qualifies for protection, the
   14   Producing Party also must clearly identify the protected portion(s) (e.g., by
   15   making appropriate markings in the margins).
   16         (b) for testimony given in depositions that the Designating Party identifies
   17   the Disclosure or Discovery Material on the record, before the close of the
   18   deposition all protected testimony.
   19         (c) for information produced in some form other than documentary and for
   20   any other tangible items, that the Producing Party affix in a prominent place on
   21   the exterior of the container or containers in which the information is stored the
   22   legend “CONFIDENTIAL.” If only a portion or portions of the information
   23   warrants protection, the Producing Party, to the extent practicable, shall identify
   24   the protected portion(s).
   25         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
   26   failure to designate qualified information or items does not, standing alone, waive
   27   the Designating Party’s right to secure protection under this Order for such
   28   material. Upon timely correction of a designation, the Receiving Party must

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    1   make reasonable efforts to assure that the material is treated in accordance with
    2   the provisions of this Order.
    3
    4   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
    5         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
    6   designation of confidentiality at any time that is consistent with the Court’s
    7   Scheduling Order.
    8         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
    9   resolution process under Local Rule 37.1, et seq.
   10         6.3    The burden of persuasion in any such challenge proceeding shall be
   11   on the Designating Party. Frivolous challenges, and those made for an improper
   12   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
   13   parties) may expose the Challenging Party to sanctions. Unless the Designating
   14   Party has waived or withdrawn the confidentiality designation, all parties shall
   15   continue to afford the material in question the level of protection to which it is
   16   entitled under the Producing Party’s designation until the Court rules on the
   17   challenge.
   18
   19   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
   20         7.1    Basic Principles. A Receiving Party may use Protected Material that
   21   is disclosed or produced by another Party or by a Non-Party in connection with
   22   this Action only for prosecuting, defending or attempting to settle this Action.
   23   Such Protected Material may be disclosed only to the categories of persons and
   24   under the conditions described in this Order. When the Action has been
   25   terminated, a Receiving Party must comply with the provisions of section 13
   26   below (FINAL DISPOSITION).
   27
   28

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    1         Protected Material must be stored and maintained by a Receiving Party at a
    2   location and in a secure manner that ensures that access is limited to the persons
    3   authorized under this Order.
    4         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
    5   otherwise ordered by the court or permitted in writing by the Designating Party, a
    6   Receiving Party may disclose any information or item designated
    7   “CONFIDENTIAL” only to:
    8                  (a) the Receiving Party’s Outside Counsel of Record in this Action,
    9   as well as employees of said Outside Counsel of Record to whom it is reasonably
   10   necessary to disclose the information for this Action;
   11                  (b) the officers, directors, and employees (including House Counsel)
   12   of the Receiving Party to whom disclosure is reasonably necessary for this
   13   Action;
   14                  (c) Experts (as defined in this Order) of the Receiving Party to
   15   whom disclosure is reasonably necessary for this Action and who have signed the
   16   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   17                  (d) the court and its personnel;
   18                  (e) court reporters and their staff;
   19                  (f) professional jury or trial consultants, mock jurors, and
   20   Professional Vendors to whom disclosure is reasonably necessary for this Action
   21   and who have signed the “Acknowledgment and Agreement to Be Bound”
   22   (Exhibit A);
   23                  (g) the author or recipient of a document containing the information
   24   or a custodian or other person who otherwise possessed or knew the information;
   25                  (h) during their depositions, witnesses, and attorneys for witnesses,
   26   in the Action to whom disclosure is reasonably necessary provided: (1) the
   27   deposing party requests that the witness sign the form attached as Exhibit A
   28   hereto; and (2) they will not be permitted to keep any confidential information

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    1   unless they sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
    2   unless otherwise agreed by the Designating Party or ordered by the court. Pages
    3   of transcribed deposition testimony or exhibits to depositions that reveal
    4   Protected Material may be separately bound by the court reporter and may not be
    5   disclosed to anyone except as permitted under this Stipulated Protective Order;
    6   and
    7                  (i) any mediator or settlement officer, and their supporting
    8   personnel, mutually agreed upon by any of the parties engaged in settlement
    9   discussions.
   10
   11   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   12         IN OTHER LITIGATION
   13         If a Party is served with a subpoena or a court order issued in other
   14   litigation that compels disclosure of any information or items designated in this
   15   Action as “CONFIDENTIAL,” that Party must:
   16         (a) promptly notify in writing the Designating Party. Such notification
   17   shall include a copy of the subpoena or court order;
   18         (b) promptly notify in writing the party who caused the subpoena or order
   19   to issue in the other litigation that some or all of the material covered by the
   20   subpoena or order is subject to this Protective Order. Such notification shall
   21   include a copy of this Stipulated Protective Order; and
   22         (c) cooperate with respect to all reasonable procedures sought to be
   23   pursued by the Designating Party whose Protected Material may be affected.
   24         If the Designating Party timely seeks a protective order, the Party served
   25   with the subpoena or court order shall not produce any information designated in
   26   this action as “CONFIDENTIAL” before a determination by the court from which
   27   the subpoena or order issued, unless the Party has obtained the Designating
   28   Party’s permission. The Designating Party shall bear the burden and expense of

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    1   seeking protection in that court of its confidential material and nothing in these
    2   provisions should be construed as authorizing or encouraging a Receiving Party
    3   in this Action to disobey a lawful directive from another court.
    4
    5   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    6         PRODUCED IN THIS LITIGATION
    7         (a) The terms of this Order are applicable to information produced by a
    8   Non-Party in this Action and designated as “CONFIDENTIAL.” Such
    9   information produced by Non-Parties in connection with this litigation is
   10   protected by the remedies and relief provided by this Order. Nothing in these
   11   provisions should be construed as prohibiting a Non-Party from seeking
   12   additional protections.
   13         (b) In the event that a Party is required, by a valid discovery request, to
   14   produce a Non-Party’s confidential information in its possession, and the Party is
   15   subject to an agreement with the Non-Party not to produce the Non-Party’s
   16   confidential information, then the Party shall:
   17                (1) promptly notify in writing the Requesting Party and the Non-
   18   Party that some or all of the information requested is subject to a confidentiality
   19   agreement with a Non-Party;
   20                (2) promptly provide the Non-Party with a copy of the Stipulated
   21   Protective Order in this Action, the relevant discovery request(s), and a
   22   reasonably specific description of the information requested; and
   23                (3) make the information requested available for inspection by the
   24   Non-Party, if requested.
   25         (c) If the Non-Party fails to seek a protective order from this court within
   26   14 days of receiving the notice and accompanying information, the Receiving
   27   Party may produce the Non-Party’s confidential information responsive to the
   28   discovery request. If the Non-Party timely seeks a protective order, the Receiving

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    1   Party shall not produce any information in its possession or control that is subject
    2   to the confidentiality agreement with the Non-Party before a determination by the
    3   court. Absent a court order to the contrary, the Non-Party shall bear the burden
    4   and expense of seeking protection in this court of its Protected Material.
    5
    6   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    7         If a Receiving Party learns that, by inadvertence or otherwise, it has
    8   disclosed Protected Material to any person or in any circumstance not authorized
    9   under this Stipulated Protective Order, the Receiving Party must immediately (a)
   10   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
   11   best efforts to retrieve all unauthorized copies of the Protected Material, (c)
   12   inform the person or persons to whom unauthorized disclosures were made of all
   13   the terms of this Order, and (d) request such person or persons to execute the
   14   “Acknowledgment and Agreement to Be Bound” that is attached hereto as
   15   Exhibit A.
   16
   17   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   18         PROTECTED MATERIAL
   19         When a Producing Party gives notice to Receiving Parties that certain
   20   inadvertently produced material is subject to a claim of privilege or other
   21   protection, the obligations of the Receiving Parties are those set forth in Federal
   22   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
   23   whatever procedure may be established in an e-discovery order that provides for
   24   production without prior privilege review. Pursuant to Federal Rule of Evidence
   25   502(d) and (e), insofar as the parties reach an agreement on the effect of
   26   disclosure of a communication or information covered by the attorney-client
   27
   28

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    1   privilege or work product protection, the parties may incorporate their agreement
    2   in the stipulated protective order submitted to the court.
    3
    4   12.   MISCELLANEOUS
    5         12.1 Right to Further Relief. Nothing in this Order abridges the right of
    6   any person to seek its modification by the Court in the future.
    7         12.2 Right to Assert Other Objections. By stipulating to the entry of this
    8   Protective Order, no Party waives any right it otherwise would have to object to
    9   disclosing or producing any information or item on any ground not addressed in
   10   this Stipulated Protective Order. Similarly, no Party waives any right to object on
   11   any ground to use in evidence of any of the material covered by this Protective
   12   Order.
   13         12.3 Filing Protected Material. A Party that seeks to file under seal any
   14   Protected Material must comply with Local Civil Rule 79-5. Protected Material
   15   may only be filed under seal pursuant to a court order authorizing the sealing of
   16   the specific Protected Material at issue. If a Party’s request to file Protected
   17   Material under seal is denied by the court, then the Receiving Party may file the
   18   information in the public record unless otherwise instructed by the court.
   19
   20   13.   FINAL DISPOSITION
   21         After the final disposition of this Action, as defined in paragraph 4, within
   22   60 days of a written request by the Designating Party, each Receiving Party must
   23   return all Protected Material to the Producing Party or destroy such material. As
   24   used in this subdivision, “all Protected Material” includes all copies, abstracts,
   25   compilations, summaries, and any other format reproducing or capturing any of
   26   the Protected Material. Whether the Protected Material is returned or destroyed,
   27   the Receiving Party must submit a written certification to the Producing Party
   28   (and, if not the same person or entity, to the Designating Party) by the 60 day

                                                 16
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    1   deadline that (1) identifies (by category, where appropriate) all the Protected
    2   Material that was returned or destroyed and (2) affirms that the Receiving Party
    3   has not retained any copies, abstracts, compilations, summaries or any other
    4   format reproducing or capturing any of the Protected Material. Notwithstanding
    5   this provision, Counsel are entitled to retain an archival copy of all pleadings,
    6   motion papers, trial, deposition, and hearing transcripts, legal memoranda,
    7   correspondence, deposition and trial exhibits, expert reports, attorney work
    8   product, and consultant and expert work product, even if such materials contain
    9   Protected Material. Any such archival copies that contain or constitute Protected
   10   Material remain subject to this Protective Order as set forth in Section 4
   11   (DURATION).
   12
   13   14.   VIOLATION
   14         Any violation of this Order may be punished by appropriate measures
   15   including, without limitation, contempt proceedings and/or monetary sanctions.
   16
   17   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   18
   19   Attorneys for Plaintiffs CARLOS LOZANO, DECEASED, by and through his
   20   Co-Successors in Interest, OSCAR PUENTES, individually, and KARLA
   21   GUTIERREZ, individually
   22
   23   Dated: May 19, 2023             THE COCHRAN FIRM CALIFORNIA

   24                                    /s/ Brian T. Dunn
   25                                    Brian T. Dunn
   26
   27
   28

                                                 17
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    1   Attorneys for Defendants County of Ventura and Sheriff William Ayub
    2
        Dated: May 19, 2023             LAWRENCE BEACH ALLEN & CHOI, PC
    3
    4                                   /s/ Rocco Zambito, Jr.
                                        James S. Eicher, Jr.
    5                                   Rocco Zambito, Jr.1
    6
    7   Attorneys for Defendants California Forensic Medical Group, Wellpath, William
    8   T. Fithian III, M.D., Paul Adler, D.O., Ronald Pollack, M.D., Janice Thomas,
    9   M.D., Gerard Boyle, And Jorge A. Dominicis
   10
   11   Dated: May 19, 2023             BERTLING LAW GROUP
   12
                                        /s/ Jemma Parker Saunders
   13                                   Peter Bertling
   14                                   Jemma Parker Saunders

   15
   16   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   17
   18
   19   DATED: ______________                  _________________________________
                                               HON. DOUGLAS F. MCCORMICK
   20                                          United States Magistrate Judge
   21
   22
   23
   24
   25
   26
   27
   28
        1
         As filer, I, Rocco Zambito, Jr., attest that Brian T. Dunn and Jemma Parker
        Saunders concur in the content of the Stipulation and have authorized its filing.
                                                   18
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    1                                       EXHIBIT A
    2   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3   I, _____________________________ [print or type full name], of
    4   _________________ [print or type full address], declare under penalty of perjury
    5
        that I have read in its entirety and understand the Stipulated Protective Order that
    6
        was issued by the United States District Court for the Central District of
    7
        California on _______in the case of Carlos Lozano, Deceased, et al. v. Wellpath,
    8
        LLC, et al., Case No. 2:21-cv-03153 FLA-DFM. I agree to comply with and to be
    9
        bound by all the terms of this Stipulated Protective Order and I understand and
   10
        acknowledge that failure to so comply could expose me to sanctions and
   11
        punishment in the nature of contempt. I solemnly promise that I will not disclose
   12
        in any manner any information or item that is subject to this Stipulated Protective
   13
   14
        Order to any person or entity except in strict compliance with the provisions of

   15   this Order.

   16   I further agree to submit to the jurisdiction of the United States District Court for
   17   the Central District of California for enforcing the terms of this Stipulated
   18   Protective Order, even if such enforcement proceedings occur after termination of
   19   this action. I hereby appoint __________________________ [print or type full
   20   name] of _______________________________________ [print or type full
   21   address and telephone number] as my California agent for service of process in
   22   connection with this action or any proceedings related to enforcement of this
   23   Stipulated Protective Order.
   24   Date: ______________________________________
   25
        City and State where sworn and signed: _________________________________
   26
        Printed name: _______________________________
   27
   28
        Signature: __________________________________

                                                 19
